 Case 2:16-cv-07937-JLS-AJW Document 143 Filed 10/16/20 Page 1 of 33 Page ID #:2391




 1   FENTON LAW GROUP, LLP
     Nicholas D. Jurkowitz (SBN 261283)
 2
     njurkowitz@fentonlawgroup.com
 3   1990 S. Bundy Drive # 777
     Los Angeles, CA 90025
 4   Phone 310-444-5244
 5   Fax 310-444-5280

 6   Attorneys for Defendants Linden Care, LLC, Linden Care, Inc.,
     and Linden Care Holdings, Inc.
 7

 8
                      IN THE UNITED STATES DISTRICT COURT
 9
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA ex rel.
12   MELINA EBU-ISAAC and the States of                    CASE NO. 2:16-cv-07937-JLS-AJW
     CALIFORNIA, COLORADO,
13   CONNECTICUT, DELAWARE, FLORIDA,                       Hon. Josephine L. Staton
     GEORGIA, HAWAII, ILLINOIS,
14   INDIANA, IOWA, LOUISIANA,
     MASSACHUSETTS,                                        LINDEN CARE, LLC, LINDEN
15   MICHIGAN, MINNESOTA, MONTANA,                         CARE, INC., AND LINDEN
     NEVADA, NEW MEXICO, NEW YORK,                         CARE HOLDINGS, INC.’S
16   NORTH CAROLINA, OKLAHOMA,                             NOTICE OF MOTION AND
     RHODE ISLAND, TENNESSEE, TEXAS,                       MOTION TO DISMISS
17   VERMONT, VIRGINIA, WASHINGTON,                        RELATOR-PLAINTIFF’S
     the CITY OF CHICAGO and the DISTRICT                  SECOND AMENDED
18   OF COLUMBIA,                                          COMPLAINT
19           Relator-Plaintiff,
20   v.
21 INSYS THERAPEUTICS, INC. and
   LINDEN CARE LLC, LINDEN CARE,
22 INC., LINDEN CARE HOLDINGS, INC.,
   BELHEALTH INVESTMENT PARTNERS,                          Hearing Date: November 13, 2020
23 LLC, BELHEALTH INVESTMENT                               Hearing Time: 10:30 am
   MANAGEMENT, LLC, and BELHEALTH                          Hearing Place: Ronald Reagan
24 INVESTMENT FUND, LP,                                    Federal Building and United States
                                                           Courthouse, 411 W. Fourth St., Santa
25           Defendants.                                   Ana, CA, 92701, Courtroom 10A,
                                                           l0th Floor
26

27
28
        LINDEN CARE, LLC, LINDEN CARE, INC., AND LINDEN CARE HOLDINGS, INC.’S NOTICE OF
       MOTION AND MOTION TO DISMISS RELATOR-PLAINTIFF’S SECOND AMENDED COMPLAINT
 Case 2:16-cv-07937-JLS-AJW Document 143 Filed 10/16/20 Page 2 of 33 Page ID #:2392




 1   TO THE HONORABLE COURT AND TO ALL PARTIES:
 2
           PLEASE TAKE NOTICE that on Friday, November 13, 2020 at 10:30 a.m.,
 3

 4
     or as soon thereafter as this matter may be heard in the above-entitled Court located

 5   at Ronald Reagan Federal Building and United States Courthouse, 411 W. Fourth St.,
 6
     Santa Ana, CA, 92701, Courtroom 10A, l0th Floor, Defendants Linden Care LLC,
 7
     Linden Care, Inc., and Linden Care Holdings, Inc. will move this Court to dismiss the
 8

 9   Second Amended Complaint. The basis for this motion is that the Second Amended
10
     Complaint is a shotgun pleading and fails to allege the required elements of a False
11
     Claims Act action against the aforementioned defendants.
12

13         This motion is based upon the attached Memorandum of Points and
14   Authorities, Proposed Order, the complete files and records in this action, and upon
15
     such oral and documentary evidence as may be allowed at the hearing of this motion.
16

17   October 16, 2020                               FENTON LAW GROUP, LLP
18

19                                                  __/s/ Nicholas D. Jurkowitz______
20
                                                    Nicholas D. Jurkowitz
21
                                                    Attorneys for Defendants
22

23

24

25

26

27
28
       LINDEN CARE, LLC, LINDEN CARE, INC., AND LINDEN CARE HOLDINGS, INC.’S NOTICE OF
      MOTION AND MOTION TO DISMISS RELATOR-PLAINTIFF’S SECOND AMENDED COMPLAINT
 Case 2:16-cv-07937-JLS-AJW Document 143 Filed 10/16/20 Page 3 of 33 Page ID #:2393




 1
                                                    TABLE OF CONTENTS
 2

 3
     PRELIMINARY STATEMENT....................................................................................... 1
 4

 5   STATEMENT OF FACTS ALLEGED IN COMPLAINT ...................................... 1
 6
     LEGAL ARGUMENT .......................................................................................................... 2
 7

 8     A. Legal Standard On Motion to Dismiss ................................................................. 2
 9

10
       B. The FAC Must Be Dismissed Because It is an Archetypal “Shotgun”

11     Complaint that Woefully Fails to Meet Both Fed. R. Civ. P. 8(a) and 9(b)’s
12
       Pleading Standards. ............................................................................................................ 4
13

14     C. The SAC Should Be Dismissed Because It Fails to Plead the Elements of
15     a FCA claim. ......................................................................................................................... 9
16
       D. The FAC Must Be Dismissed Because Plaintiff Fails to Meet the
17

18     Heightened Pleading Standard Required for Fraud Allegations Under Rule
19
       9(b). .......................................................................................................................................18
20

21     E. The Complaint should Be Dismissed, as it is Prolix ......................................21
22
       F. Relator-Plaintiffs Causes of Action Pertaining to Payment by Mistake
23
       Must Be Dismissed ..........................................................................................................23
24

25     G. Relator-Plaintiff’s Remaining Non-Federal Claims Should Be Dismissed
26
             24
27
28
                                                                            i
 Case 2:16-cv-07937-JLS-AJW Document 143 Filed 10/16/20 Page 4 of 33 Page ID #:2394




 1   CONCLUSION ....................................................................................................................25
 2

 3

 4

 5

 6

 7

 8
                                                 TABLE OF AUTHORITIES
 9

10   Cases
11
     Pages(s)
12

13   Aflatooni,
14    314 F.3d .................................................................................................................................18

15
     Ashcroft v. Iqbal,
16    556 U.S. 662 (2009) ............................................................................................................... 3
17

18   Bell Atl. Corp. v. Twombly,
      550 U.S. 544 (2007) .................................................................................................. 3, 12, 18
19

20   Bly–Magee v. California,
21     236 F.3d 1014 (9th Cir.2001) .............................................................................................19
22
     Cafasso, U.S. ex rel. v. Gen. Dynamics C4 Sys., Inc.,
23    637 F.3d 1047 (9th Cir. 2011) ................................................................................. 18,19,22
24

25   Carnegie-Mellon Univ. v. Cohill,
      484 U.S. 343 (1988) .............................................................................................................24
26

27   Decker v. GlenFed, Inc. (In re GlenFed, Inc. Sec. Litig.),
28
                                                                          ii
 Case 2:16-cv-07937-JLS-AJW Document 143 Filed 10/16/20 Page 5 of 33 Page ID #:2395




 1      42 F.3d 1541 (9th Cir.1994) (en banc) ................................................................................ 9
 2

 3   Destfino v. Reiswig,
      630 F.3d 952 (9th Cir.2011) ..............................................................................................5,7
 4

 5   Ebeid ex rel. United States v. Lungwitz,
 6    616 F.3d 993 (9th Cir. 2010) ...............................................................................3, 9, 16, 19

 7
     Erickson v. Kiddie,
 8    1986 WL 544 (N.D. Cal. 1986) ............................................................................................ 8
 9

10   Halifax Hosp. Med. Ctr.,
      2013 WL 6017329 ................................................................................................................23
11

12   Hatch v. Reliance Ins. Co.,
13    758 F.2d 409 (9th Cir.1985) ..............................................................................................22
14
     Herklotz v. Parkinson,
15    848 F.3d 894 (9th Cir. 2017) ..............................................................................................25
16

17   Honeywell Int’l, Inc. v. Phillips Petroleum Co.,
      415 F.3d 429 (5th Cir. 2005) ..............................................................................................25
18

19
     Kazenercom Too v. Turan Petroleum, Inc.,
20    No. SACV0900059JVSMLGX, 2009 WL 10679984, n.1 (C.D. Cal. June 9, 2009) .... 6
21
     Khasin v. R. C. Bigelow, Inc.,
22
      No. 12-CV-02204-WHO, 2015 WL 4104868 (N.D. Cal. July 7, 2015).......................23
23

24   Mortgages Ltd.,
      No. 2:08-BK-07465-RJH, 2013 WL 1336830 (Bankr. D. Ariz. Mar. 29, 2013) . passim
25

26
     S.E.C. v. Fraser,
27     No. CV-09-00443-PHX-GMS, 2010 WL 5776401 (D. Ariz. Jan. 28, 2010) ................ 4
28
                                                                     iii
 Case 2:16-cv-07937-JLS-AJW Document 143 Filed 10/16/20 Page 6 of 33 Page ID #:2396




 1

 2   Sec. & Exch. Comm'n v. Bardman,
 3     216 F. Supp. 3d 1041 (N.D. Cal. 2016) .............................................................................. 8

 4
     Shin v. Time Squared Glob., LLC,
 5     No. SACV1500943AGGJSX, 2015 WL 13284952 (C.D. Cal. Aug. 26, 2015) ...... 3,43
 6

 7   Silicon Graphics, Inc. Sec. Litig.,
       970 F.Supp. 746 (N.D. Cal. 1997) ....................................................................................... 8
 8

 9   Skilstaf, Inc. v. CVS Caremark Corp.,
10     669 F.3d 1005 (9th Cir. 2012) .............................................................................................. 3
11
     U.S. ex rel. Hopper v. Anton,
12    91 F.3d 1261 (9th Cir. 1996) ..............................................................................................17
13

14   U.S. ex rel. Lee v. SmithKline Beecham, Inc.,
      245 F.3d 1048 (9th Cir. 2001) .............................................................................................. 3
15

16
     U.S. ex rel. Ruhe v. Masimo Corp.,
17    977 F. Supp. 2d 981 (C.D. Cal. 2013), aff'd, 640 F. App'x 666 (9th Cir. 2016) 9,10,12
18
     U.S. v. Rivera,
19
      55 3d. 703 (1st Cir 1995) .....................................................................................................17
20

21   United Mine Workers of America v. Gibbs,
      383 U.S. 715 (1966) .............................................................................................................24
22

23
     United States ex rel. Clausen v. Lab Corp. of Am.,
24    290 F.3d 1301 (11th Cir. 2002) .................................................................................... 17, 18
25
     United States ex rel. Hendow v. Univ. of Phoenix,
26
      461 F.3d 1166 (9th Cir.2006) ......................................................................................... 9,17
27
28
                                                                     iv
 Case 2:16-cv-07937-JLS-AJW Document 143 Filed 10/16/20 Page 7 of 33 Page ID #:2397




 1   United States v. Adams,
 2    371 F. Supp. 3d 1195 (N.D. Ga. 2019).............................................................................23

 3
     United States v. Bourseau,
 4    531 F.3d 1159 (9th Cir. 2008) ............................................................................................17
 5

 6   United States v. Corinthian Colleges,
      655 F.3d 984 ..................................................................................................................... 4,10
 7

 8   United States v. Mead,
 9    426 F.2d 118 (9th Cir. 1970) ..............................................................................................24
10
     United States v. Medica-Rents Co.,
11    285 F. Supp. 2d 742 (N.D. Tex. 2003) .............................................................................23
12

13   United States v. Wurts,
      303 U.S. 414, 58 S.Ct. ..........................................................................................................24
14

15   Universal Health Servs., Inc. v. United States ex rel. Escobar,
16    136 S. Ct. 1989, 195 L.Ed.2d 348 (2016) .........................................................................13
17
     Vess v. Ciba–Geigy Corp. USA,
18
      317 F.3d 1097 (9th Cir. 2003) ........................................................................................ 3,19
19

20   Vibe Micro, Inc. v. Shabanets,
      878 F.3d 1291 (11th Cir. 2018) ............................................................................................ 4
21

22
     Wagner v. First Horizon Pharm. Corp.,
23    464 F.3d 1273 (11th Cir.2006) ............................................................................................. 6
24
     Zinzuwadia v. MERS,
25
       No. 2:12–cv–02281–KJM–KJN PS, 2012 WL 6737837 (E.D.Cal. Dec. 28, 2012) .... 7
26

27
28
                                                                        v
 Case 2:16-cv-07937-JLS-AJW Document 143 Filed 10/16/20 Page 8 of 33 Page ID #:2398




 1   Statutes
 2

 3   28 U.S.C. § 1367(a) ..................................................................................................................25

 4   31 U.S.C. § 3729(a)(1) .............................................................................................................17
 5
     31 U.S.C. § 3729(a)(2) .............................................................................................................17
 6
     31 U.S.C. § 3729(b)(4).............................................................................................................13
 7

 8

 9   Rules
10
     Fed. R. Civ. P. 9(b) ..........................................................................................................passim
11

12   Fed. R. Civ. P. 8(a) ........................................................................................... 1, 4, 7, 9-12, 19
13   Fed. R. Civ. P 8(a)(2)............................................................................................................ 3, 8
14
     Fed. R. Civ. P. 12(b)(6) ....................................................................................................... 1, 3
15

16

17

18

19

20

21

22

23

24

25

26

27
28
                                                                       vi
 Case 2:16-cv-07937-JLS-AJW Document 143 Filed 10/16/20 Page 9 of 33 Page ID #:2399




 1         MOVANTS, LINDEN CARE, LLC, LINDEN CARE, INC., AND
 2     LINDEN CARE HOLDING, INC., MOTION TO DISMISS RELATOR-
               PLAINTIFF’S FIRST AMEDNED COMPLAINT
 3

 4
           Pursuant to Fed. R. Civ. P. 12(b)(6), Defendants Linden Care, LLC, Linden

 5   Care Inc., and Linden Care Holdings, Inc. (collectively, the “Linden Care Defendants”)
 6
     move to dismiss the Relator-Plaintiff’s second amended complaint (the “SAC”) (ECF
 7
     No. 129) filed by Plaintiff-Relator Melina Ebu-Isaac (“Plaintiff-Relator”) and, in
 8

 9   support, state as follows:
10
                                  PRELIMINARY STATEMENT
11
           Relator-Plaintiff’s SAC should be dismissed as a shotgun pleading. Moreover,
12

13   in addition to properly pleading the elements to allege a False Claims Act (“FCA”)
14   violation, the SAC fails to meet Federal Rule of Civil Procedure 8(a), as well as the
15
     heightened pleading standard prescribed by FRCP 9(b) when alleging fraud.
16

17   Additionally, the SAC is prolix, alleging an inordinate number of confused and
18   inconsistent allegations, without any indication of how, or whether, these allegations
19
     are tied to the Linden Care Defendants’ alleged violations of the False Claims Act.
20

21   Additionally, Relator-Plaintiff’s claims or unjust enrichment as well as state-level FCA

22   corollaries must be dismissed. For these reasons, as further detailed below, the Linden
23
     Care Defendants respectfully request that the Court dismiss the SAC.
24

25
                 STATEMENT OF FACTS ALLEGED IN COMPLAINT

26

27
28
                                                1
     Case 2:16-cv-07937-JLS-AJW Document 143 Filed 10/16/20 Page 10 of 33 Page ID
                                      #:2400



 1         On October 25, 2016, the original complaint in this matter was filed against
 2
     Insys Therapeutics, Inc., and Linden Care, LLC alleging violations of the FCA (the
 3

 4
     “Original Complaint”). (ECF No. 1.)

 5         On May 11, 2018, the Court permitted the Relator-Plaintiff to file an amended
 6
     complaint on declined upon portions of the action. (“May 11th Order”) (ECF No. 29.)
 7
           On May 15, 2018, the Government filed its Intervenor Complaint, intervening
 8

 9   only as to Insys. (ECF No. 30.)
10
           On August 13, 2018, Relator-Plaintiff filed her FAC which named five
11
     additional defendants, including Linden Care, Inc., Linden Care Holdings, Inc. and
12

13   three BelHealth Entities (the “BelHealth Defendants”). (ECF No. 56.)
14         On or around June 22, 2020, the First Amended Complaint and proposed SAC
15
     were served on Linden Care, LLC, Linden Care, Inc., and Linden Care Holdings, Inc,
16

17   along with Relator-Plaintiff’s motion for leave to file the SAC.
18         On September 18, 2020, following the Court’s order granting Relator-Plaintiff’s
19
     Motion for Leave to File the SAC, Relator-Plaintiff filed the SAC. (ECF No. 129).
20

21         On October 2, 2020, the Court granted Relator-Plaintiff and the Linden Care

22   Defendants’ joint stipulation to extend the deadline by which the Linden Care
23
     Defendants have to respond to the SAC, through October 16, 2020. (ECF No. 137).
24

25
                                    LEGAL ARGUMENT

26                          A. Legal Standard On Motion to Dismiss
27
28
                                                2
     Case 2:16-cv-07937-JLS-AJW Document 143 Filed 10/16/20 Page 11 of 33 Page ID
                                      #:2401



 1         The Court may dismiss a complaint that fails to state a claim upon which relief
 2
     can be granted. See Fed. R. Civ. P. 12(b)(6). Pursuant to Rule 8(a)(2), a complaint
 3

 4
     must contain “a short, plain statement of the claim showing that the pleader is entitled

 5   to relief.” Fed. R. Civ. P. 8(a)(2). “A court must grant a motion to dismiss when,
 6
     ‘accepting all factual allegations in the complaint as true and construing them in the
 7
     light most favorable to the nonmoving party,’ a complaint fails to state a claim upon
 8

 9   which relief can be granted.” Skilstaf, Inc. v. CVS Caremark Corp., 669 F.3d 1005,
10
     1014 (9th Cir. 2012); see Fed. R. Civ. P. 12(b)(6). Shin v. Time Squared Glob., LLC,
11
     No. SACV1500943AGGJSX, 2015 WL 13284952, at *1 (C.D. Cal. Aug. 26, 2015). To
12

13   survive a motion to dismiss, a complaint must contain sufficient factual matter to
14   “state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662,
15
     678 (2009). As such, pleadings must be “more than labels and conclusions, and a
16

17   formulaic recitation of a cause of action’s elements will not do.” Bell Atl. Corp. v.
18   Twombly, 550 U.S. 544, 555 (2007).
19
           Moreover, complaints brought under the FCA must fulfill the requirements of
20

21   Rule 9(b). U.S. ex rel. Lee v. SmithKline Beecham, Inc., 245 F.3d 1048, 1051 (9th Cir.

22   2001). To plead with particularity the circumstances constituting the alleged fraud,
23
     “…the plaintiff must allege ‘the who, what, when, where, and how of the misconduct
24

25
     charged,’ Ebeid ex rel. United States v. Lungwitz, 616 F.3d 993, 998 (9th Cir. 2010)

26   (quoting Vess v. Ciba–Geigy Corp. USA, 317 F.3d 1097, 1106 (9th Cir. 2003)),
27
28
                                                3
     Case 2:16-cv-07937-JLS-AJW Document 143 Filed 10/16/20 Page 12 of 33 Page ID
                                      #:2402



 1   including what is false or misleading about a statement, and why it is false.” see
 2
     id. Knowledge, however, may be pled generally.” United States v. Corinthian Colleges,
 3

 4
     655 F.3d 984, 996.

 5          Pursuant to the above legal standards, the Linden Care Defendants respectfully
 6
     submit that the SAC should be dismissed as set forth below.
 7
     B. The FAC Must Be Dismissed Because It is an Archetypal “Shotgun”
 8
        Complaint that Woefully Fails to Meet Both Fed. R. Civ. P. 8(a) and 9(b)’s
 9      Pleading Standards.
10
            The SAC is a shotgun pleading and must be dismissed. “Shotgun pleadings [are
11
     those which] overwhelm defendants with an unclear mass of allegations and make it
12

13   difficult or impossible for defendants to make informed responses to the plaintiff's
14   allegations. They are unacceptable… [p]laintiffs must give the defendants a clear
15
     statement about what the defendants allegedly did wrong.” Shin, 2015 WL 13284952,
16

17   at *2 (C.D. Cal. Aug. 26, 2015). Shotgun complaints require dismissal. See Id.; S.E.C.
18   v. Fraser, No. CV-09-00443-PHX-GMS, 2010 WL 5776401, at *4 (D. Ariz. Jan. 28,
19
     2010); Vibe Micro, Inc. v. Shabanets, 878 F.3d 1291 (11th Cir. 2018).
20

21          The SAC is a shotgun complaint in every aspect of the term. To be sure, within

22   the 9th circuit,
23
               a ‘shotgun pleading’ can take [at least] two forms. First, it can
24             happen when one party pleads multiple parties did an act, without
25
               identifying which party did what specifically. Second, it can happen
               when one party pleads multiple counts, and does not identify which
26             specific facts fit that Count in that very Count, but instead rely on a
27
28
                                                 4
     Case 2:16-cv-07937-JLS-AJW Document 143 Filed 10/16/20 Page 13 of 33 Page ID
                                      #:2403



 1              blanket incorporation clause that incorporates all of the statement
 2              of facts.”

 3            [In re Mortgages Ltd., No. 2:08-BK-07465-RJH, 2013 WL 1336830, at *12
 4
     (Bankr. D. Ariz. Mar. 29, 2013) citing Destfino v. Reiswig, 630 F.3d 952, 958–959 (9th
 5

 6
     Cir.2011). [emphasis supplied.]      The SAC falls into both categories of shotgun

 7   pleading, warranting dismissal. We address each in turn.
 8
              First, the SAC, falling into the first category of shotgun pleading articulated
 9
     above, fails to distinguish between the Linden Care Defendants. To begin with, the
10

11   SAC defines Linden Care, LLC, Linden Care, Inc. and Linden Care Holdings, Inc.
12
     collectively as “Linden Care.” Although the SAC defines Linden Care, LLC as a
13
     licensee “…provider of specialty pharmacy services” (SAC at 10), neither Linden
14

15   Care, Inc., nor Linden Care Holdings, Inc. are alleged to carry such designation. (SAC
16   at 11, 12.) Notwithstanding the differing functions of the entities as described within
17
     the SAC (i.e., licensee versus non-licensee), which, alone, demand distinction between
18

19   the entities, Relator-Plaintiff provides absolutely no explanation as to why lumping
20   these three entities together is appropriate or permissible. In addition to failing to
21
     distinguish between each of the three Linden Care Defendants, each of the SAC’s 34
22

23   counts mention only “Defendants,” from which there are seven to choose, without

24   any mention as to which defendant – or defendants – that count is intended to relate,
25
     or what each defendant (or defendants) did to warrant inclusion within that particular
26

27
     count.

28
                                                 5
     Case 2:16-cv-07937-JLS-AJW Document 143 Filed 10/16/20 Page 14 of 33 Page ID
                                      #:2404



 1         In holding that a complaint was a shotgun pleading, the Court in In re
 2
     Mortgage stated, that “[b]y not identifying specific Defendants, Defendants are left
 3

 4
     guessing who did what, raising the transaction costs for discovery and future

 5   cooperation. This hurts not only the Defendants, but the Plaintiffs and the Court as
 6
     well. Thus, the Plaintiff must plead specific Defendants did specific acts. The Plaintiff
 7
     here did neither.” 2013 WL 1336830, at *15. The SAC clearly falls into the first
 8

 9   category of shotgun pleading by lumping defendants together in both of the instances
10
     described above.
11
           The second type of “[s]hotgun pleadings are those that incorporate every
12

13   antecedent allegation by reference into each subsequent claim for relief
14   …” Kazenercom Too v. Turan Petroleum, Inc., No. SACV0900059JVSMLGX, 2009
15
     WL 10679984, at *1, n.1 (C.D. Cal. June 9, 2009) quoting Wagner v. First Horizon
16

17   Pharm. Corp., 464 F.3d 1273, 1279 (11th Cir.2006). Plaintiffs, including Relator-
18   Plaintiff, are required to “…plead separate counts separately. Incorporation clauses are
19
     only allowed when either (a) they incorporate specifically (by page or paragraph); or
20

21   (b) the statement of facts is so short and counts pled so limited as to make general

22   incorporation harmless.” In re Mortgages Ltd., 2013 WL 1336830, at *15 (emphasis
23
     supplied). In the SAC, the Relator-Plaintiff incorporates into each count, each and
24

25
     every allegation and count preceding it, without specific reference – by paragraph or

26   page – as to which specific allegations are meant to be incorporated. See, e.g., SAC at
27
28
                                                6
     Case 2:16-cv-07937-JLS-AJW Document 143 Filed 10/16/20 Page 15 of 33 Page ID
                                      #:2405



 1   314, 321, 324, 333, 339, 511 (“Relator restates and incorporates each and every
 2
     allegation above as if the same were fully set forth herein,” appearing in each and
 3

 4
     every count). Such reincorporation, without specification as to which specific

 5   paragraphs are to be incorporated, serves no purpose and does nothing to illuminate
 6
     the nature of the charge or which of the defendants are alleged to have engaged in
 7
     which conduct. Moreover, the statement of facts, at 313 paragraphs (and over 100
 8

 9   pages), is hardly short enough so as to make general incorporation “harmless.” As
10
     such, the SAC very clearly falls into the second category of shotgun pleading and must
11
     be dismissed as such.
12

13         Shotgun complaints, by their very nature, fall short of meeting the pleading
14   standards of Rules 8(a) and 9(b), requiring the SAC’s dismissal. Indeed, “[w]hile there
15
     may     be    no     explicit   Ninth     Circuit    precedent     explicitly   holding
16

17   that shotgun pleadings can violate a ‘short and plain’ statement requirement, at least
18   one case indirectly held that it did. Further, many federal district judges in the Ninth
19
     Circuit have amply incorporated the substance of the shotgun pleading rule, whether
20

21   referring to it explicitly or implicitly.” In re Mortgages Ltd., 2013 WL 1336830, at *14

22   citing Destfino v. Reiswig, 630 F.3d 952, 958–959 (9th Cir.2011) and Zinzuwadia v.
23
     MERS, No. 2:12–cv–02281–KJM–KJN PS, 2012 WL 6737837, at *6–8 (E.D.Cal.
24

25
     Dec. 28, 2012).

26

27
28
                                                7
     Case 2:16-cv-07937-JLS-AJW Document 143 Filed 10/16/20 Page 16 of 33 Page ID
                                      #:2406



 1         Moreover, the SAC, as a shotgun complaint, runs afoul of the requirements of
 2
     Rule 9(b).
 3

 4
                      It should be noted that although independent, the analysis
              between F.R.Civ.P 8(a)(2) and 9(b) reinforces each other. Thus, a
 5            finding that a Count is governed by the fraud/mistake particularity
 6
              requirement of 9(b) lowers the threshold for when a shotgun
              pleading violates “short and plain” statement requirement of
 7            8(a)(2), because that lack of particularity, although short is
              not plain but remains clouded in generalities. On the flip side,
 8
              finding that a shotgun pleading violates “short and
 9            plain” lowers the threshold for when that Complaint fails to plead
              fraud/mistake with particularity, because the shotgun pleader
10
              serves to hide the ball by not pleading facts in the particular
11            location required (in the Count or specifically incorporated). Simply
              put, general incorporation clauses in shotgun pleadings are not very
12
              particular, nor very plainly understood because they force the
13            reader to go on a needless treasure hunt through the statement of
              facts.
14

15         [In re Mortgages Ltd., 2013 WL 1336830, at *15–16.]
16         Moreover, in order to meet the pleading threshold articulated within Rule 9(b),
17
     the Plaintiff must “distinguish among those they sue and enlighten each defendant as
18

19   to his or her alleged fraud.” Sec. & Exch. Comm'n v. Bardman, 216 F. Supp. 3d 1041,
20   1051 (N.D. Cal. 2016) citing In re Silicon Graphics, Inc. Sec. Litig., 970 F.Supp. 746,
21
     752 (N.D. Cal. 1997) (quoting Erickson v. Kiddie, 1986 WL 544, *7 (N.D. Cal. 1986)).
22

23   Relator’s failure to distinguish between the Linden Care Defendants throughout the

24   SAC and failure to distinguish between the seven defendants throughout the counts,
25
     combined with Relator-Plaintiff’s blanket incorporation clauses of statement of fact in
26

27
28
                                               8
     Case 2:16-cv-07937-JLS-AJW Document 143 Filed 10/16/20 Page 17 of 33 Page ID
                                      #:2407



 1   all counts renders the SAC a prototypical shotgun complaint, which violates Rules
 2
     8(a) and 9(b), and requires dismissal.
 3

 4
        C. The SAC Should Be Dismissed Because It Fails to Plead the Elements of
                                     a FCA claim.
 5

 6
            The SAC should be dismissed because it fails to plead the elements of a FCA

 7   claim. A civil action for False Claims Act liability requires, under a prototypical factual
 8
     false claims act allegation, that four essential elements be plead: “(1) a false statement
 9
     or fraudulent course of conduct, (2) made with scienter, (3) that was material, causing
10

11   (4) the government to pay out money or forfeit moneys due.” U.S. ex rel. Ruhe v.
12
     Masimo Corp., 977 F. Supp. 2d 981, 991 (C.D. Cal. 2013), aff'd, 640 F. App'x 666 (9th
13
     Cir. 2016) quoting United States ex rel. Hendow v. Univ. of Phoenix, 461 F.3d 1166,
14

15   1174 (9th Cir.2006). As detailed below, the SAC fails with regard to each element.
16      a) The SAC Fails to Adequately Plead Falsity
17
            To properly plead “falsity” under the FCA, “[t]he plaintiff must set forth what
18

19   is false or misleading about a statement, and why it is false.” Ebeid, 616 F.3d, at *998
20   quoting Decker v. GlenFed, Inc. (In re GlenFed, Inc. Sec. Litig.), 42 F.3d 1541, 1548
21
     (9th Cir.1994) (en banc)). The SAC is bereft of such factual allegations; as Relator-
22

23   Plaintiff failed to articulate the reasons the claims were false or to link the alleged

24   falsity to any particular allegations, the SAC has failed to appropriately plead falsity.
25

26

27
28
                                                  9
     Case 2:16-cv-07937-JLS-AJW Document 143 Filed 10/16/20 Page 18 of 33 Page ID
                                      #:2408



 1          Moreover, without the SAC’s iteration of which allegation or set of allegations
 2
     pertains to the falsity, it is impossible to properly plead that defendants knew of the
 3

 4
     falsity, which is further explored below.

 5      b) The SAC Fails to Appropriately Plead Scienter
 6
            “Scienter requires a showing that the defendant made statements that were
 7
     “‘intentional, palpable lie[s],’ made with ‘knowledge of the falsity.’” Ruhe, 977 F.
 8

 9   Supp. 2d, at *991 (C.D. Cal. 2013), aff'd, 640 F. App'x 666 (9th Cir. 2016) quoting
10
     Univ. of Phoenix, 461 F.3d at 1175. In the context of FCA cases, despite the
11
     heightened pleading standard for fraud under Rule 9(b), knowledge need only be
12

13   plead generally in accord with Rule 8(a). Corinthian Colls., 655 F.3d 984, 992 (9th Cir.
14   2011 citing Fed. R. Civ. P. 9(b))(“conditions of a persons [sic] mind…
15
     including scienter, can be alleged generally.”).
16

17          As it does with the falsity element, the SAC falls short of appropriately pleading
18   the scienter requirement, notwithstanding the relaxed standard. The scienter
19
     requirement relates to the knowledge pertaining to the falsity itself – i.e., that the
20

21   defendant had knowledge pertaining to the falsity of the claim (See Ruhe 977 F. Supp. 2d, at

22   *991 (C.D. Cal. 2013)) (emphasis added), as distinct from knowledge of other items
23
     (e.g., knowledge that claims were submitted, or knowledge of participation in a
24

25
     particular program, as further delineated below). The SAC makes reference, in many

26   instances, to the Linden Care Defendants’ knowledge of various items; however, such
27
28
                                                 10
     Case 2:16-cv-07937-JLS-AJW Document 143 Filed 10/16/20 Page 19 of 33 Page ID
                                      #:2409



 1   references, in their various attempts to plead the knowledge element appropriately, are
 2
     insufficient to allege knowledge of the falsity under Rule 8(a).
 3

 4
           Below are instances taken from the SAC which contain reference to the Linden

 5   Care Defendants’ scienter, none of which appropriately plead knowledge of the falsity
 6
     of the claim, which is the standard for pleading a false claims act violation.
 7

 8       “Linden Care…knowingly took advantage of the opioid epidemic, and

 9         endangered the lives of numerous patients, all for the sake of maximizing
10
           profits.” (SAC at 206.)
11

12       “Linden Care knowingly caused false claims to be submitted to the Medicare

13         program and made or caused to be made false statements that were material to
14
           such claims.” (Id. at 218.)
15

16       “Belhealth allowed Linden Care to knowingly participate in Insys’s ‘Super-

17         Voucher’ program, which was one of Insys’s sales tools that offered free units
18
           of Subsys to certain patients.” (Id. at *238.)
19

20       “Linden Care…was aware that the natural and probable consequences of its

21         illegal distribution of Subsys was that health care providers would submit
22
           claims for payment to Government Health Care Programs for said distribution.
23

24         Notwithstanding this knowledge, Linden Care…illegally distributed Subsys

25         without any thought as to the potential harm to patients.” (Id. at *265 – 266.)
26

27
28
                                                 11
     Case 2:16-cv-07937-JLS-AJW Document 143 Filed 10/16/20 Page 20 of 33 Page ID
                                      #:2410



 1       “Linden Care did so notwithstanding that it knew or recklessly disregarded the
 2
           fact that (1) Schedule II controlled substances could not be legally dispensed
 3

 4         without a valid prescription; (2) Linden Care’s pharmacists were dispensing

 5         Schedule II controlled substances without a valid prescription; and (3) drugs
 6
           dispensed without a valid prescription are not payable under Medicare Part
 7

 8         D… Linden Care knowingly caused false claims to be submitted to the

 9         Medicare program and made or caused to be made false statements that were
10
           material to such claims” (Id.. at *218.) This statement, from what the Linden
11
           Care Defendants can gather, is intended to relate to an extremely limited
12

13         portion of claims or conduct intended to be included within the Action.
14
           At best, the above can be characterized as “formulaic recitation of a cause of
15
     action's elements [and] will not do.” Twombly, 550 U.S., at *545, 127 S. Ct., at *1959,
16

17   which fails to satisfy Rule 8(a), let alone the more demanding and governing pleading
18
     standard articulated in 9(b). What must be pled to satisfy the “knowing” standard is
19
     well-established in this Court. See e.g., Ruhe 977 F. Supp. 2d, at *991 (C.D. Cal.
20

21   2013)). Plaintiffs have plainly failed to follow the Court’s direction, providing the
22   Linden Care Defendants with numerous iterations of the standard, depriving the
23
     Linden Care Defendants of the notice required to appropriately defend themselves in
24

25   this Action. Due to its failure to appropriately plead scienter within the context of the

26   FCA, the SAC warrants dismissal.
27
28
                                                12
     Case 2:16-cv-07937-JLS-AJW Document 143 Filed 10/16/20 Page 21 of 33 Page ID
                                      #:2411



 1      c) The SAC Fails to Properly Plead Materiality
 2
            Third, the SAC also fails to satisfactorily plead an FCA claim because it fails to
 3

 4
     allege that the Defendant Pharmacies’ purported conduct was material to the payment

 5   decision made by federal payors. Universal Health Servs., Inc. v. United States ex rel.
 6
     Escobar, 136 S. Ct. 1989, 195 L.Ed.2d 348 (2016). Pursuant to the holding in
 7
     Escobar, the Supreme Court has recognized that a defendant may impliedly certify
 8

 9   compliance with applicable law in a way that gives rise to FCA liability as follows: “the
10
     implied certification theory can be a basis for FCA liability. Specifically, liability can
11
     attach when the defendant submits a claim for payment that makes specific
12

13   representations about the goods or services provided, but knowingly fails to disclose
14   the defendant’s noncompliance with a statutory, regulatory, or contractual
15
     requirement.” Id. at *1995. Escobar makes clear that for liability to attach in these
16

17   instances, the misrepresentation as to the noncompliant underlying behavior must be
18   material to the government’s decision to pay the claim. Id. at 1996. In other words,
19
     even where a defendant does, in fact, submit a claim for payment but knowingly fails
20

21   to disclose the defendant’s noncompliance with legal or contractual prerequisites that

22   does, in fact, the defendant is not liable under the FCA unless materiality is properly
23
     pled as well.
24

25
            “Materiality” means “having a natural tendency to influence, or be capable of

26   influencing, the payment or receipt of money or property.” § 3729(b)(4). Id. at *1996.
27
28
                                                13
     Case 2:16-cv-07937-JLS-AJW Document 143 Filed 10/16/20 Page 22 of 33 Page ID
                                      #:2412



 1   The materiality standard is a “demanding” one and, likewise, the “False Claims Act is
 2
     not ‘an all-purpose antifraud statute’ … or a vehicle for punishing garden-variety
 3

 4
     breaches of contract or regulatory violations.” Id. at *2003. As a corollary, materiality

 5   “cannot be found where noncompliance is minor or insubstantial.” Id.
 6
         While Relator-Plaintiff uses the buzzword “materiality’ throughout the SAC,
 7

 8         nowhere does he actually plead underlying facts that would tend to make the

 9         alleged misconduct under the FCA. Representative examples of this are laid out
10
           below: “The fact that the United States paid for false and fraudulent claims
11
           subsequent to the filing of this action does not negate the materiality of the
12

13         Defendants' conduct and noncompliance.” (SAC at 73, 270, 319 …)
14
         “As a direct, proximate and foreseeable result of LINDEN CARE's dispensing
15

16
           of Schedule II drugs without a valid prescription, LINDEN CARE knowingly

17         caused false claims to be submitted to the Medicare program and made or
18
           caused to be made false statements that were material to such claims.” (Id. at
19
           218.)
20

21       “By virtue of the acts described above, Defendants knowingly made and/or
22
           used, or caused to be made or used, false records and/or statements material to
23
           false or fraudulent claims for payment or approval of SUBSYS, or treatments
24

25         involving SUBSYS, to officers, employees or agents of the United States
26
           Government.” (Id. at 292.)
27
28
                                                14
     Case 2:16-cv-07937-JLS-AJW Document 143 Filed 10/16/20 Page 23 of 33 Page ID
                                      #:2413



 1       “The amounts of the false or fraudulent claims caused by Defendants to be
 2
            submitted to the United States were material.” (Id. at 294.)
 3

 4       “As a direct and proximate consequence of Defendants' conspiratorial conduct,
 5          the United States has suffered significant, material financial damages in an
 6
            amount to be proved at trial.” (Id. at 295.)
 7

 8          As held in Escobar, to be actionable under the False Claims Act, a false record
 9   or statement must be material to the Government’s decision to pay the claim. See
10
     Escobar, supra. The standard is clear, and Relator should not be permitted to muddy
11

12   that standard through various iterations in their pleadings. Further, the Linden Care

13   Defendants should not be forced to pick and choose which standard of materiality
14
     has been appropriately plead to conform to this standard and defend themselves, nor
15

16
     should they be forced to respond and defend each of them. Further, even though

17   Relator-Plaintiff pleads, in each count, that the United States paid false claims “that
18
     would otherwise not have been allowed” (see e.g., SAC at 317), in what appears to be
19
     an attempt to plead materiality, it is completely unclear as to the reason (or falsity) that
20

21   Relator-Plaintiff is alleging that the payment would “otherwise not have been
22
     allowed.” As such, the Relator has failed to properly plead materiality for purposes of
23
     the False Claims Act and, therefore, the SAC should be dismissed.
24

25      d) The SAC fails to appropriately allege that the Government paid the allegedly
26          false claims
27
28
                                                 15
     Case 2:16-cv-07937-JLS-AJW Document 143 Filed 10/16/20 Page 24 of 33 Page ID
                                      #:2414



 1         Additionally, Relator-Plaintiff does not plead with particularity under Rule 9(b),
 2
     which is further discussed below that moneys had been paid out by the Government,
 3

 4
     which is an element required to be plead under the FCA to plead a viable claim. Case

 5   law makes it clear that this element may be appropriately plead by way of providing
 6
     representative examples of payment, or by pleading a reasonable basis such that an
 7
     inference can be made that the government made the requested payment. See Ebeid,
 8

 9   616 F.3d 993, 999 (“Likewise, a plaintiff may, but need not, provide representative
10
     examples to establish the payment element of the prima facie case. The
11
     Rule 9(b) standard may be satisfied by pleading with particularity a reasonable basis to
12

13   infer that the government either paid money or forfeited moneys due.“).
14         Though Relator-Plaintiff states that the Government paid false or fraudulent
15
     claims presented to it (see, e.g., SAC at 317), it does not provide a factual predicate or
16

17   reasonable basis from which the Linden Care Defendants are able to infer that this is
18   the case. Moreover, while this element may be able to be satisfied through pleading
19
     representative examples, Relator-Plaintiff attempts to utilize, as a representative
20

21   example, an anecdote of one patient who was allegedly dispensed 18 Subsys

22   prescriptions (SAC at 311); Notwithstanding that reference to one patient is hardly a
23
     representative example, Relator-Plaintiff only specifically pleads that the Government
24

25
     paid for this patient’s prescriptions in only one instance. (SAC at 288.) Such pleadings

26   are insufficient to demonstrate that the Government paid the claims allegedly at issue.
27
28
                                                16
     Case 2:16-cv-07937-JLS-AJW Document 143 Filed 10/16/20 Page 25 of 33 Page ID
                                      #:2415



 1      e) The SAC Fails to Allege Submission of a Claim
 2
            Finally, and most fatally, the SAC fails to allege the submission of a claim. See
 3

 4
     United States ex rel. Clausen v. Lab Corp. of Am., 290 F.3d 1301, 1311 (11th Cir.

 5   2002)(holding that the “sine qua non of a False Claims Act arises from the submission
 6
     of a fraudulent claim to the government, not the disregard of government regulations
 7
     or failure to maintain proper internal procedures.”); U.S. ex rel. Hopper v. Anton, 91
 8

 9   F.3d 1261, 1266 (9th Cir. 1996) citing U.S. v. Rivera, 55 3d. 703, 709 (1st Cir
10
     1995)(“[t]he [False Claims] Act attaches liability, not to underlying fraudulent activity,
11
     but to the ‘claim for payment.’”)[emphasis added]; Hendow, 461 F.3d, at *1173
12

13   (“…[M]ost obviously, for a false statement or course of action to be actionable under
14   the false certification theory of false claims liability, it is necessary that it involve an
15
     actual claim, which is to say, a call on the government fisc. This is self-evident from
16

17   the statutory language, of course, which requires a “claim paid or approved by the
18   Government.” quoting 31 U.S.C. § 3729(a)(2)); United States v. Bourseau, 531 F.3d
19
     1159, 1169 (9th Cir. 2008)(Presentment is an element in a cause of action under §
20

21   3729(a)(1), which punishes someone who “knowingly presents, or causes to be presented, to

22   an officer or employee of the United States Government or a member of the Armed
23
     Forces of the United States a false or fraudulent claim for payment or approval.” 31
24

25
     U.S.C. § 3729(a)(1))[emphasis supplied].

26

27
28
                                                 17
     Case 2:16-cv-07937-JLS-AJW Document 143 Filed 10/16/20 Page 26 of 33 Page ID
                                      #:2416



 1         While Relator-Plaintiff states, “EnvisionRx authorized, and Linden Care
 2
     dispensed…” medication to a particular patient (SAC at 292), inferring claims had
 3

 4
     been submitted to the Government, such inference of submission is not, other than a

 5   conclusory allegation, present in any other claims. While Relator-Plaintiff’s causes of
 6
     action reference that “Defendants” (again, without regard to which of the defendants
 7
     named in the SAC) “presented, or caused to be presented, false or fraudulent claims
 8

 9   for payment or approval of Subsys,” this statement, as further described below, is
10
     nothing more than a “formulaic recitation of a cause of action's elements [and] will
11
     not do.” Twombly, 550 U.S., at *545, 127 S. Ct., at *1959 [emphasis added].
12

13         It is clear that there needs to be some basis to support that claims had been
14   submitted, which Relator-Plaintiff has failed to provide, insufficiently pleading the
15
     sine qua non of a false claim, a fatal flaw warranting dismissal. Cafasso, U.S. ex rel. v.
16

17   Gen. Dynamics C4 Sys., Inc., 637 F.3d 1047, 1058 (9th Cir. 2011) citing
18   Aflatooni, 314 F.3d at 1002 (“It is not enough ... ‘to describe a [fraudulent] scheme in
19
     detail but then to allege simply and without any stated reason ... that claims requesting
20

21   illegal payments must have been submitted.’” (quoting Clausen, 290 F.3d at 1311)).

22           D. The FAC Must Be Dismissed Because Plaintiff Fails to Meet the
23           Heightened Pleading Standard Required for Fraud Allegations Under
                                        Rule 9(b).
24

25
           Plaintiff fails to meet the heightened pleading standard for fraud cases under

26   Rule 9(b) and as such the FAC must be dismissed as insufficiently pled. Generally,
27
28
                                                18
     Case 2:16-cv-07937-JLS-AJW Document 143 Filed 10/16/20 Page 27 of 33 Page ID
                                      #:2417



 1   pleading standards under 8(a) are all that are required to be plead. However, claims of
 2
     fraud grounded in the False Claims Act are subject to Rule 9(b), Cafasso, 637 F.3d
 3

 4
     1047, 1054 citing Bly–Magee v. California, 236 F.3d 1014, 1018 (9th Cir.2001), under

 5   which a plaintiff “must state with particularity the circumstances constituting fraud.”
 6
     Cafasso, 637 F.3d 1047, 1054 quoting Fed. R. Civ. P. 9(b). To plead with particularity
 7
     the circumstances constituting the alleged fraud, “…the plaintiff must allege ‘the who,
 8

 9   what, when, where, and how of the misconduct charged,’ (Ebeid, 616 F.3d 993, 998
10
     quoting Vess v. Ciba–Geigy Corp. USA, 317 F.3d 1097, 1106 (9th Cir. 2003)),
11
     including what is false or misleading about a statement, and why it is false. Id.
12

13         To begin, Relator-Plaintiff fails to appropriately plead the “who” required for
14   particular pleadings of fraud and, resultantly, fails short of reaching the heightened
15
     pleading standards articulated in Rule 9(b) by lumping all of the Linden Care
16

17   Defendants together throughout the SAC and, separately, by failing to distinguish
18   between Defendants in the counts.
19
           Moreover, the counts themselves are so ambiguous that they cannot be found
20

21   to meet 9(b)’s particularity standard. To be sure, each of the counts states,

22   “Defendants knowingly presented, or caused to be presented, false or fraudulent claims for
23
     payment or approval of Subys, or treatments involving Subsys, to … the United States
24

25
     Government.” (See e.g., para 316) (emphasis added). First, it is impossible to

26   determine, from the body of the SAC whether – or in which instances – claims were
27
28
                                                 19
     Case 2:16-cv-07937-JLS-AJW Document 143 Filed 10/16/20 Page 28 of 33 Page ID
                                      #:2418



 1   submitted, when they were submitted, or by whom, such that the SAC plainly fails to
 2
     meet the pleading threshold of Rule 9(b). As mentioned above, pleading
 3

 4
     “Defendants” as a whole within the SAC’s counts violates Rule 9(b), as it fails to

 5   provide particularity pertaining to the “who.” In re Mortgages Ltd., 2013 WL
 6
     1336830, at *15–16 (“ Incorporating at least part of the shotgun pleading rule, a
 7
     Plaintiff does not plead the “who” of fraud with particularity when used
 8

 9   the generalized term “Defendants,” instead of identifying a particular Defendant when
10
     pleading the particular Defendant's role in the fraudulent conduct.”). In this case,
11
     lumping each of the defendants together without any delineation in the action
12

13   between them results in a complete lack of clarity in each of the defendants’ roles in
14   the submission or causation of the submission of the claim – which defendant(s)
15
     submitted the claims versus which defendant(s) caused the submission of the claim?
16

17   Furthermore, each of the SAC’s counts reference submission of claims for payment
18   of approval of “…Subsys, or treatments involving Subsys.” (See e.g., SAC at 316)
19
     (emphasis added), again leaving the Linden Care Defendants with a lack of notice as
20

21   to what, exactly, claims were alleged to have been submitted for (i.e., did the claims

22   submitted relate to Subsys, or some treatment tangentially “involving” Subsys?)
23
           We note that the lack of clarity here is further compounded by the SAC’s
24

25
     reference to its dispensing of controlled substances generally, without regard to

26   dispensing Subsys in particular (see SAC at 219). Additionally, though the counts
27
28
                                              20
     Case 2:16-cv-07937-JLS-AJW Document 143 Filed 10/16/20 Page 29 of 33 Page ID
                                      #:2419



 1   mention claims that are “false or fraudulent” (see e.g., SAC at 316), Relator-Plaintiff
 2
     does nothing - aside from reincorporating each paragraph preceding it - to guide the
 3

 4
     Linden Care Defendants as to what exactly made those claims false or fraudulent; the

 5   Linden Care Defendants should not be forced to scour the preceding 313 allegations
 6
     (which number only increases per count) in order to pick out which of the allegations
 7
     plead were intended to pertain to the claims’ falsity.
 8

 9         The SAC falls short of pleading the alleged fraud with particularity required by
10
     Rule 9(b) in other ways, as well. For example, the SAC references Linden Care’s
11
     breach of a duty, or failure to adhere to a specific protocol (see, e.g., SAC at 126, 205,
12

13   240) without any articulated reason as to how these “breaches” or “failures” were
14   false, or how they resulted in the submission of a claim or were material to the
15
     government’s payment decision. Further, Relator-Plaintiff’s count states that some
16

17   “Subsys prescriptions [for which claims were submitted]…were legitimate,” (SAC at
18   319), depriving the Linden Care Defendants of fair notice as to in which instances
19
     prescriptions for Subsys were legitimate versus those in which they were not. In
20

21   essence, though the SAC’s statement of facts is 313 paragraphs long, the Linden Care

22   Defendants are left scratching their heads as to which allegations across those 313
23
     paragraphs are material to Relator-Plaintiff’s the actual cause of action.
24

25
        E. The Complaint should Be Dismissed, as it is Prolix

26

27
28
                                                 21
     Case 2:16-cv-07937-JLS-AJW Document 143 Filed 10/16/20 Page 30 of 33 Page ID
                                      #:2420



 1         Finally, the Court is within its discretion dismiss a complaint given its
 2
     “extraordinary prolixity.” Cafasso, 637 F.3d, at *1058–59. In this case, the proposed
 3

 4
     SAC is 213 pages and, nonetheless, has not met the pleading standards articulated

 5   above. Further, as described above, it is, throughout its factual allegations spanning
 6
     313 paragraphs and well over 100 pages are, in many instances conclusory and, in
 7
     others, confusing. Additionally, notwithstanding the page amount, each of the three
 8

 9   Linden Care Defendants have been lumped into one category - “Linden Care” - for
10
     purposes of allegations, and all seven of the SAC’s defendants have been lumped into
11
     another category (merely “Defendants”) in pleading each of the 34 causes of action.
12

13   Moreover, while concepts are briefly broached and never again mentioned throughout
14   the balance of the complaint, standards of law which have been well settled have been
15
     plead by Relator-Plaintiff over and over in different ways leaving Linden Care
16

17   Defendants in the dark as to which one the SAC intends that they defend (e.g.,
18   materiality; scienter). For this reason, the SAC must be dismissed. See Hatch v.
19
     Reliance Ins. Co., 758 F.2d 409, 415 (9th Cir.1985) (dismissing a complaint that
20

21   “exceeded 70 pages in length, [and was] confusing and conclusory”); In re Mortgages

22   Ltd., 2013 WL 1336830, at *15 (referencing the problematic nature of a 70 page
23
     complaint, 60 pages of which make up the statement of facts, especially when
24

25
     combined with “…shotgun pleading clauses and terms which vaguely incorporate

26   unspecified parts of the statement of facts…or leave unnamed specific Defendants.”).
27
28
                                              22
     Case 2:16-cv-07937-JLS-AJW Document 143 Filed 10/16/20 Page 31 of 33 Page ID
                                      #:2421



 1         F. Relator-Plaintiffs Causes of Action Pertaining to Payment by Mistake
 2            Must Be Dismissed

 3         Relator-Plaintiff’s causes of action pertaining to payment by mistake and unjust
 4
     enrichment must be dismissed. Because such claims are not independent legal claims,
 5

 6
     (Khasin v. R. C. Bigelow, Inc., No. 12-CV-02204-WHO, 2015 WL 4104868, at *1

 7   (N.D. Cal. July 7, 2015)(“[u]nder California law, unjust enrichment is a theory of
 8
     recovery, not an independent legal claim.), these cause of action must fail, as the
 9
     causes of action alleged under the FCA must be dismissed.
10

11         Moreover, with regard to a claim for payment by mistake, “the government is
12
     entitled to reimbursement for payments ... where it is shown: (1) payments were made
13
     (2) under the belief that they were properly owed; (3) that belief being erroneously
14

15   formed; and (4) the mistaken belief was material to the decision to pay.” United States
16   v. Adams, 371 F. Supp. 3d 1195, 1217 (N.D. Ga. 2019) quoting United States v.
17
     Medica-Rents Co., 285 F. Supp. 2d 742, 776 (N.D. Tex. 2003), aff'd sub nom (internal
18

19   quotation marks and citation omitted); see also Halifax Hosp. Med. Ctr., 2013 WL
20   6017329, at *7. As stated above, Relator-Plaintiff has not appropriately plead that
21
     payments were made, nor was it appropriately plead that such hypothetical payment
22

23   resulted from an erroneous belief on the part of the Government.

24         Most fatally, however, Relator-Plaintiff has failed to plead that the “mistaken
25
     belief,” if one existed, was material to the decision to pay the funds. Indeed, only “[i]f
26

27
     the government made these payments under an erroneous belief which was material

28
                                                23
     Case 2:16-cv-07937-JLS-AJW Document 143 Filed 10/16/20 Page 32 of 33 Page ID
                                      #:2422



 1   to the decision to pay, it is entitled to recover the payments.” United States v. Mead,
 2
     426 F.2d 118, 124 (9th Cir. 1970) citing United States v. Wurts, 303 U.S. 414, 58 S.Ct.
 3

 4
     637. As detailed above, Relator-Plaintiff has failed to demonstrate that the alleged

 5   falsity of the claims was material to the government’s payment decision. We iterate
 6
     that same sentiment here, and state that the elements of unjust enrichment have not
 7
     been appropriately plead such that these causes of action warrant dismissal.
 8

 9      G. Relator-Plaintiff’s Remaining Non-Federal Claims Should Be Dismissed
10
           As demonstrated above, the SAC, as it relates to claims submitted to the
11
     Federal Government, should be dismissed, leaving a number of counts predicated
12

13   upon the alleged submission of claims to States and territories, which are based-upon
14   upon state- and territory-level corollaries of the Federal FCA (SAC at 343-692). Each
15
     of these causes of action have pleading standards analogous, or substantially similar,
16

17   to the Federal FCA and, thus, must be dismissed on the bases articulated above.
18         Moreover, because these claims do not pose a federal question, the Court need
19
     not maintain jurisdiction over those non-federal causes of action; those counts should
20

21   be dismissed. See Carnegie-Mellon Univ. v. Cohill, 484 U.S. 343, 350 (1988) (citing

22   Rosado v. Wyman, 397 U.S. 397, 403-05 (1970)(Clarifying that the statement made in
23
     United Mine Workers of America v. Gibbs, that “if the federal claims are dismissed
24

25
     before trial . . . the state claims should be dismissed as well,” 383 U.S. 715, 726 (1966),

26   “…simply recognizes that in the usual case in which all federal-law claims are
27
28
                                                 24
     Case 2:16-cv-07937-JLS-AJW Document 143 Filed 10/16/20 Page 33 of 33 Page ID
                                      #:2423



 1   eliminated before trial, the balance of factors will be considered under the pendent
 2
     jurisdiction doctrine – judicial economy, convenience, fairness, and comity – will
 3

 4
     point toward declining to exercise jurisdiction over the remaining state-law

 5   claims.” Cohill, 484 U.S. 343, 350 (emphasis added); Herklotz v. Parkinson, 848 F.3d
 6
     894,898 (9th Cir. 2017) citing Honeywell Int’l, Inc. v. Phillips Petroleum Co., 415 F.3d
 7
     429, 431 (5th Cir. 2005)(finding that an action must have its own basis for federal
 8

 9   jurisdiction or must be dismissed: “It can no longer rely on the supplemental
10
     jurisdiction afforded by 28 U.S.C. § 1367(a), for there is nothing left to supplement.”).
11
                                        CONCLUSION
12

13         For the foregoing reasons, the Linden Care Defendants respectfully request
14   that the SAC be dismissed in full, with prejudice.
15
           Respectfully submitted this 16th day of October, 2020.
16

17
                                                     FENTON LAW GROUP, LLP

18

19                                                   __/s/ Nicholas D. Jurkowitz______
20                                                   Nicholas D. Jurkowitz
21
                                                     Attorneys for Defendants
22

23

24

25

26

27
28
                                                25
